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             R O B I N S O N B R O G L E I N W A N D G R E E N E G E N O V E S E & G L U C K P.C.
                                            875 THIRD AVENUE
                                     NEW YORK, NEW YORK 10022


                                              (212) 603-6300


                                           FAX (212) 956-2164
                                           February 14, 2022
                                                                                                Fred B. Ringel
                                                                                                (212) 603-6301
                                                                                         fbr@robinsonbrog.com


VIA ECF and email
Hon. Lisa G. Beckerman
U.S. Bankruptcy Court
Southern District of New York
One Bowling Green
New York, New York 10004-1408

Re:      In re 286 Rider Ave Acquisition LLC: Case No 21-11298 (LGB)

Dear Judge Beckerman,

      Enclosed with this letter is a proposed order terminating the Purchase and
Sale Agreement between 286 Rider Ave Acquisition LLC (“Debtor”) as seller and
Vaja Group (“Vaja”) as buyer. The proposed order also authorizes Robinson Brog
Leinwand Greene Genovese & Gluck P.C. (“Robinson Brog”) to release from its
escrow the $1,050,000 deposit previously submitted by Vaja.
      Because of the delays in proceeding with the sale of the Debtor’s real
property, Vaja has requested that Robinson Brog release from escrow Vaja’s
deposit. Because of the continued uncertainty with respect to the sale of the
property, the Debtor agrees with Vaja that it would be inequitable to continue
holding onto the $1,050,000 deposit and wishes to return the deposit to Vaja.
      Unless Your Honor has any questions regarding the proposed order, we
would respectfully request that the order be entered.

                                                           Respectfully submitted,
                                                           /s/ Fred B. Ringel
                                                           Fred B. Ringel


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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X

In re:                                                        Chapter 11

286 RIDER AVE ACQUISITION LLC,                                Case No: 21-11298 (LGB)

                                           Debtor.
----------------------------------------------------------X

                      ORDER AUTHORIZING RELEASE OF DEPOSIT

         WHEREAS, on December 13, 2021, the Court entered the Order (A)

Approving Bid Procedures in Connection With the Sale of the Debtor’s Real

Property, (B) Approving Form and Manner of Notice of Sale, and (C) Scheduling

Auction (ECF Doc. 200) (“Bid Procedures Order”) which set forth the bidding

procedures in connection with the sale of 286 Rider Ave Acquisition LLC’s

(“Debtor”) real property located at 286 Rider Avenue, Bronx, New York (“Property”);

         WHEREAS, pursuant to the Bid Procedures Order, Vaja Group LLC (“Vaja”)

entered into a Purchase and Sale Agreement dated January 2022 (“Contract”) for

the purchase of the Property and remitted $1,050,000 (“Deposit) as a good faith

deposit to Robinson Brog Leinwand Greene Genovese & Gluck P.C. (“Escrow

Agent”);

         WHEREAS, on January 10, 2022, the Debtor filed a Stalking Horse Notice

(ECF Doc. 255) seeking to approve Vaja as the stalking horse under the Bid

Procedures Order;

         WHEREAS, on February 11, 2022, the Court entered the Order Regarding

Development’s Motion to Confirm Disputed Payoff Amounts, Satisfaction of DIP


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Loan, and for Related Relief and Supplement to Same (ECF Doc. 293) which

adjourned the designation Vaja as the stalking horse bidder to April 12, 2022 and

adjourned the auction for the Property to April 13, 2022;

         WHEREAS, on February 11, 2022, counsel to Vaja delivered a letter to the

Debtor, which is attached to this Order as Exhibit A, requesting Escrow Agent

release the Deposit on the basis that the auction for the Property has been

adjourned from January 14, 2022 to April 13, 2022, and because of the delay, Vaja

will no longer be able to qualify for the 421-A tax exemption intended under the sale

of the Property; and

         WHEREAS, the Purchase and Sale Agreement provides that in the event the

sale does not occur withing three months from the date of the contract, the Buyer

would have the right to terminate the Purchase and Sale Agreement and receive a

refund of the Deposit; and

         WHEREAS, because of the delays in holding the auction, it would no longer

be equitable for Escrow Agent to continue holding the Deposit;

         IT IS HEREBY ORDERED THAT

                    1.   The Purchase and Sale Agreement is hereby terminated.

                    2.   Escrow Agent is hereby authorized to return the Deposit to Vaja

upon entry of this Order.

                    3.   Escrow Agent is authorized to take all action necessary to

effectuate the relief granted in this Order.




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                    4.   The Court shall retain jurisdiction to hear and determine all

matters arising from or related to the implementation, interpretation, and/or

enforcement of this Order.

Dated: New York, New York
       February __, 2022


                                           ________________________________________
                                           HONORABLE LISA G. BECKERMAN
                                           UNITED STATES BANKRUPTCY JUDGE




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